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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                 CRIMINAL ACTION

VERSUS                                                                               NO. 12-265

ROBERT KALUZA AND
DONALD VIDRINE                                                                SECTION “K”(5)


                                   ORDER AND REASONS


        Before the Court is defendants’ Joint Motion to Dismiss Counts 1-23 of the Superseding

Indictment filed on September 26, 2013. (Rec. Doc. 104). Having reviewed the pleadings,

memoranda, and relevant law, the Court hereby DENIES the motions as follows.

I.      BACKGROUND

        The charges in this matter arise out of the actions of two employees of British Petroleum

(“BP”) who were on board the Deepwater Horizon drilling vessel during the explosion on April

20, 2010, which killed eleven members of the vessel’s crew. On November 14, 2012, a federal

grand jury in the Eastern District of Louisiana returned a Superseding Indictment (“the

Indictment”) charging each of the employee-defendants, Robert Kaluza and Donald Vidrine

(“defendants”), with eleven counts of Involuntary Manslaughter under 18 U.S.C. § 1112

(“Section 1112”) (Counts 1-11), eleven counts of Ship Officers’ Manslaughter under 18 U.S.C. §

1115 (“Section 1115”) (Counts 12-22), and one count alleging a Clean Water Act violation under

33 U.S.C. §§ 1319(c)(1)(A) and 1321(b)(3) (Count 23). (Superseding Indictment ¶¶ 25-70). On

November 28, 2012, both defendants plead not guilty as to all counts. On December 10, 2013,

this Court dismissed Counts 12-22 under Section 1115. (See Rec. Doc. 118).




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         In their instant motion, the defendants seek to dismiss Counts 1-23 of the Indictment

under Federal Rule of Criminal Procedure 12(b)(2), asserting that the underlying criminal

statutes are unconstitutionally vague as applied “because they lack a clear ‘standard of care’ that

the defendants allegedly violated” and thus fail to charge an offense. (Rec. Doc. 104, at 1). As

previously noted, the remaining counts against the defendants are charged under Section 1112

(Counts 1-15) and the Clean Water Act (Count 23). The government, on the other hand,

suggests that the statutes at issue in this matter employ “well-established” and unambiguous

standards of negligence. (Rec. Doc. 111, at 1). Thus, the government argues that because the

standard of negligence is not ambiguous or vague, the criminal statutes as applied to the

defendants in this case are not void for vagueness. (Rec. Doc. 111, at 1).



II.      LEGAL STANDARD

         Rule 12(b)(2) of the Federal Rules of Criminal Procedure provides that “[a] party may

raise by pretrial motion any defense, objection, or request that the court can determine without a

trial of the general issue.” The court is required to take the indictment’s allegations as true when

determining whether the indictment fails to state an offense. United States v. Crow, 164 F.3d

229, 234 (5th Cir. 199); United States v. Rainey, 946 F.Supp.2d 518, 526 (E.D. La. May 20,

2013). In addition, in considering whether to grant the motion to dismiss the indictment based

on its sufficiency for failure to state an offense, “the propriety of granting a motion to dismiss the

indictment under Rule 12 ‘is by-and-large contingent upon whether the infirmity in the

prosecution is essentially one of law or involves determinations of fact.’” United States v.

Rainey, 946 F.Supp.2d at 526 (citing United States v. Flores, 404 F.3d 320, 324 (5th Cir.2005)).

In the Fifth Circuit, questions of law are considered appropriate for such pretrial motions. Id. In



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the instant matter, whether the criminal statutes are unconstitutionally vague as applied to the

defendants is a question of law. United States v. Rudzavice, 586 F.3d 310, 315 (5th Cir. 2009)

(“Whether a criminal statute is unconstitutionally vague is a question of law…”); see Rainey,

946 F.Supp.2d at 546; United States v. Humble 714 F.Supp. 794 (E.D.La. June 15, 1989).

Additionally, unlike some other circuits, the Fifth Circuit allows district courts to look beyond

the face of the indictment and make “preliminary findings of fact necessary to decide the

questions of law presented by pre-trial motions so long as the court’s findings on the motion do

not invade the province of the ultimate finder of fact.” Flores, 404 F.3d at 324 n.6 (citation and

internal quotations omitted); see Rainey, 946 F.Supp.2d at 546.



III.    ANALYSIS

        Neither party contests what the government must prove under either statute.1 As to the

manslaughter charges, Section 1112 provides:

        (a) Manslaughter is the unlawful killing of a human being without malice.
        It is of two kinds:
                  Voluntary—Upon a sudden quarrel or heat of passion.
                  Involuntary—In the commission of an unlawful act not amounting
                  to a felony, or in the commission in an unlawful manner, or
                  without due caution and circumspection, of a lawful act which
                  might produce death.

18 U.S.C. § 1112(a) (emphasis added). Courts have interpreted charges of involuntary

manslaughter under Section 1112 to require proof that the defendant committed the following

acts:

        (1) act[ed] with gross negligence, meaning a wanton or reckless disregard
        for human life, and (2) [had] knowledge that his or her conduct was a
        threat to the life of another or knowledge of such circumstances as could


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 “We agree that in most circumstances the line between negligent and non-negligent conduct is sufficiently clear to
satisfy due process.” (Defendant’s Reply to Opposition, Rec. Doc. 114, at 2).

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       reasonably have enabled the defendant to foresee the peril to which his or
       her act might subject another.

United States v. Fesler, 781 F.2d 384, 393 (5th Cir. 1986); see also United States v. Schmidt, 626

F.2d 616, 617 (8th Cir. 1980), cert. denied, 449 U.S. 904, 101 S.Ct. 278, 66 L.Ed.2d 136; United

States v. Wood, 207 F.3d 1222, 1236 (10th Cir. 2000). The Fifth Circuit has interpreted “gross

negligence” in the context of Section 1112 to mean “a wanton or reckless disregard for human

life.” Fesler, 781 F.2d at 393; United States v. Dominguez-Ochoa, 386 F.3d 639, 645 (5th Cir.

2004). For charges under the Clean Water Act, 33 U.S.C. § 1319(c)(1)(A) and § 1321(b)(3),

however, courts only require proof of ordinary negligence. United States v. Pruett, 681 F.3d 232,

241-42 (5th Cir. 2012). In Pruett, the Fifth Circuit stated that “negligence is not an ambiguous

term, and is understood to mean ‘[t]he failure to exercise the standard of care that a reasonably

prudent person would have exercised in a similar situation.’” 681 F.3d 232, 242 (5th Cir. 2012)

(citation omitted). Thus, the Court must consider whether gross negligence and negligence as

applied to the defendants results in impermissible and unconstitutional vagueness as to the

conduct proscribed by the statutes.

       “The Fifth Amendment's Due Process Clause protects against criminal convictions based

on impermissibly vague statutes.” United States v. McRae, 702 F.3d 806, 836-37 (5th Cir. 2012)

cert. denied, 133 S. Ct. 2037, 185 L. Ed. 2d 887 (U.S. 2013). Generally, the void for vagueness

doctrine provides that the statute may be vague based on two independent grounds: (1) where

persons of ordinary intelligence have no fair notice or reasonable opportunity to understand what

conduct is proscribed, and (2) where the statute prohibits conduct in such a manner that it

encourages arbitrary and discriminatory enforcement. See Kolender v. Lawson, 461 U.S. 352,

357, 103 S.Ct. 1855, 75 L.Ed. 903 (1983); United States v. Williams, 553 U.S. 285, 304, 128

S.Ct. 1830, 1845, 170 L.Ed.2d 650 (2008); Grayned v. City of Rockford, 408 U.S. 104, 92 S.Ct.

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2294, 33 L.Ed.2d 222 (1972). The first ground is founded upon the notion that “[v]ague laws

may trap the innocent by not providing fair warning.” Grayned, 408 U.S. at 108-09; see

Thibodeau v. Portuondo, 486 F.3d 61, 65 (2007). Even if the law provides fair notice, however,

it may be impermissibly vague if it does not provide sufficiently clear standards for enforcement.

See Chicago v. Morales, 527 U.S. 41, 52, 119 S.Ct. 1849, 144 L.Ed.2d 67 (1999). The second

ground—of which the Supreme Court has declared is the “more important aspect of the

vagueness doctrine”—requires that laws must establish “minimal guidelines to govern law

enforcement.” Koldender, 461 U.S. at 359. To protect against arbitrary enforcement, the laws

must establish “explicit standards” that avoid “resolution based on an ad hoc and subjective

basis,” or those resolutions which are accompanied by the “attendant dangers of arbitrary and

discriminatory application.” Grayned, 408 U.S. at 109.

       As the Supreme Court has instructed, “[t]hese standards should not, of course, be

mechanically applied.” Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

498-99, 102 S. Ct. 1186, 1193, 71 L. Ed. 2d 362 (1982); see Roark & Hardee LP v. City of

Austin, 522 F.3d 533, 551-52 (5th Cir. 2008). The degree of vagueness tolerated depends partly

on the nature of the law: economic regulation or civil enactments receive more tolerance than

criminal penalties because the “consequences of imprecision are qualitatively less severe.”

Hoffman, 455 U.S. at 498-99. Yet a scienter requirement in a criminal statute may mitigate

vagueness, particularly as to the fair notice requirement. Id. Indeed, “even a criminal statute

need not achieve ‘meticulous specificity’ at the expense of ‘flexibility and reasonable breadth.’”

Rubin v. Garvin, 544 F.3d 461, 467 (2d Cir. 2008) (quoting Grayned v. City of Rockford, 408

U.S. 104, 110, 92 S.Ct. 2294, 33 L.Ed.2d 222 (1972)). As the Supreme Court has explained:

               What renders a statute vague is not the possibility that it will
               sometimes be difficult to determine whether the incriminating fact

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               it establishes has been proved; but rather the indeterminacy of
               precisely what that fact is. Thus, we have struck down statutes that
               tied criminal culpability to whether the defendant’s conduct was
               ‘annoying’ or ‘indecent’—wholly subjective judgments without
               statutory definitions, narrowing context, or settled legal meanings.

United States v. Williams, 553 U.S. 285, 306, 128 S.Ct. 1830, 1846, 170 L. Ed. 2d 650 (2008)

(citations omitted) (emphasis added).

       Challenges as to vagueness are of two types: they may be facial, seeking invalidation of

the statute in its entirety, or as applied, seeking invalidation only as applied to the facts sub

judice. See Steffel v. Thompson, 415 U.S. 452, 474, 94 S.Ct. 1209, 39 L.Ed.2d 505 (1974).

Generally, “[i]t is well established that vagueness challenges to statues which do not involve

First Amendment freedoms must be examined in light of the facts of the case at hand,” or an as

applied challenge. United States v. Mazurie, 419 U.S. 544, 553, 95 S.Ct. 710, 715-16, 42

L.Ed.2d. 706 (1975); see United States v. Clark, 582 F.3d 607, 612-13 (5th Cir. 2009).

        The statute may be vague as applied if the defendants show that they could not have

reasonably understood that their alleged conduct or behavior was proscribed by the statute. See

United States v. Kelly, 973 F.2d 1145, 1152 (5th Cir. 1992); Maynard v. Cartwright, 486 U.S.

356, 361, 108 S. Ct. 1853, 1857, 100 L. Ed. 2d 372 (1988) (“Objections to vagueness . . . may be

overcome in any specific case where reasonable persons would know that their conduct is at

risk.”). The challenge may also succeed where the statute is so standardless as to provide no

notice and no guidance to law enforcement. See Palmer v. City of Euclid, Ohio, 402 U.S. 544,

545-46, 91 S.Ct. 1563, 1564, 29 L.Ed.2d 98 (1971) (finding that an ordinance prohibiting

suspicious persons from wandering about the streets without visible or lawful business failed to

give notice to the defendant); Coates v. City of Cincinnati, 402 U.S. 611, 614, 91 S. Ct. 1686,

1688, 29 L. Ed. 2d 214 (1971). For example, the Court found that the constitutional right to



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assembly was impinged by a vague and unascertainable standard where the ordinance prohibited

three or more persons to assemble on sidewalks conducting themselves in an “annoying” manner

to police officers: “Conduct that annoys some people does not annoy others [; t]hus, the

ordinance is vague, not in the sense that it requires a person to conform his conduct to an

imprecise but comprehensible normative standard, but rather in the sense that no standard of

conduct is specified at all.” Coates, 402 U.S. at 614.

       Courts reviewing vagueness challenges at the appellate level generally apply the facts as

proved at trial to determine whether the particular enactment is vague as applied. See, e.g.,

Clark, 582 F.3d at 614; United States v. Kelly, 973 F.2d 1145, 1152 (5th Cir. 1992); United

States v. McRae, 702 F.3d 806, 838 (5th Cir. 2012) cert. denied, 133 S. Ct. 2037, 185 L. Ed. 2d

887 (U.S. 2013). Because of the pre-trial nature of this motion, the government asserts that any

challenge raised in this motion must apply strictly to the allegations contained in the indictment

and that the Court should not consider the defendants’ motion’s accompanying exhibits and

evidence; the government also notes that other courts have post-poned decision on similar

motions until it can be decided on evidence admitted at trial. (Rec. Doc. 111, at 12). This is

supported by district court decisions in other circuits as well as circuit court opinions reversing

district courts for considering vagueness challenges before trial. See, e.g., United States v. Reed,

114 F.3d 1067, 1070 (10th Cir. 1997) (district court erred by considering vagueness in a pretrial

motion); United States v. Tafoya, 375 F.Supp.2d 1257 (D. New Mexico July 7, 2005) (denying

vagueness challenge because as-applied challenge required factual determinations to be made by

the jury and government did not consent to consideration of facts not alleged in the indictment);

United States v. Harris, 2012 WL 2402788, at 1 (D.Mass. June 26, 2012) (“[T]he court

considered the argument that the wire fraud statute was unconstitutionally vague, but found that



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this contention would need to be decided in the context of the evidence presented at trial.”);

United States v. Moesser, 2010 WL 4811945 (D.Utah 2010) (“[I]t is clear that the Court may not

rule on an as-applied vagueness challenge until after factual determinations are made at trial if

such determinations may be of any use to the Court’s decision making process”); United States v.

Bastian, 112 F.Supp.2d 378, 380 (S.D.N.Y.) (denying vagueness challenge without prejudice to

renew motion at close of the government’s case at trial).

       However, district courts in the Fifth Circuit have ruled on similar motions challenging

vagueness before trial. See United States v. Humble, 714 F.Supp. 794 (E.D.La. June 15, 1989)

(finding 18 U.S.C. § 215 was not unconstitutionally vague as applied against defendant); Rainey,

946 F.Supp.2d 518 (discussing as-applied vagueness challenge without deciding the issue as

earlier motion rendered the challenge moot). These decisions are distinguishable from other

circuits based on the Fifth Circuit rule that district courts are allowed to look beyond the four

corners of the indictment in finding facts relevant to determining a question of law presented in a

motion filed pursuant Rule 12(b)(2) of the Federal Rules of Criminal Procedure. See Flores, 404

F.3d 320, 324 (5th Cir.2005). Further, as one court has stated, the standard in vagueness

challenges is an objective one: “Courts ask ‘whether the law presents an ordinary person with

sufficient notice of or the opportunity to understand what conduct is prohibited or proscribed,’

not whether a particular plaintiff actually received a warning that alerted him or her to the danger

of being held to account for the behavior in question.” Dickerson v. Napolitano, 604 F.3d 732,

745-46 (2d Cir. 2010). Under Flores, without having proved the facts alleged in the indictment,

and accepting them as true, this Court may determine whether an ordinary person would have

sufficient notice of whether the conduct alleged is proscribed.




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         The defendants’ challenge questions whether there is an applicable standard of care to be

applied in the negligence analyses under both Section 1112 and the Clean Water Act

1319(c)(1)(A) and 1321(b)(3). The defendants allege that no such standard existed at the time of

the blowout or, at the least, that any standard promulgated in guidelines by BP provided little to

no ascertainable standard. The defendants assume that, in order to be negligent or grossly

negligent, an external standard of care must exist. While professional malpractice claims often

rely on exactly this type of standard—typically established by expert testimony—this is not such

a case. Nor is it the case that this matter relies on administrative regulations, which often

provide a standard of care or may even be considered, for example, in a negligence per se type of

analysis.2 Instead, the statutes at hand are criminal statutes with criminal penalties that employ

standards of ordinary negligence or gross negligence. The statutes at issue in this matter have

been interpreted to require ordinary negligence and gross negligence, which have well-settled

legal meanings: indeed, “[t]his ubiquitous standard [of negligence] does not defy common

understanding but relies on it.” United States v. Escalante, 239 F.3d 678, 680 (5th Cir. 2001).

And it is this Court’s opinion that the standard of care need not derive from a specific industry

standard.3

         The defendants have presented no case law (and the Court does not know of any existing

case law) where a defendant regarded as a professional was treated differently under the

negligence analysis in an involuntary manslaughter charge under Section 1112.4 To find


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  Schlichter v. Port Arthur Towing Co., 288 F.2d 801, 804 (5th Cir. 1961) (“Similarly, governmental regulations do
not necessarily measure the scope of duty. Occasionally they reflect merely a minimum so that noncompliance leads
to imposition of civil responsibility almost as a matter of course.”)
3
  See United States v. Escamilla, 467 F.2d 341, 347-48 (4th Cir. 1972) (finding that the lack of governing authority,
police force, and relative lack of civilization of T-3, an unclaimed island of ice in the Arctic Ocean were relevant
factors to be considered by the jury in determining whether defendant was grossly negligent under United States’
law).
4
  For example, the Tenth Circuit in United States v. Wood reviewed a verdict as to a physician convicted of
involuntary manslaughter. United States v. Wood, 207 F.3d 1222, 1230 (10th Cir. 2000). The government

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otherwise would mean that, absent an external standard of care, no “professional” could be held

accountable for such conduct. Cf. United States v. McMillan, 820 F.2d 251, 254 (8th Cir. 1987)

(finding state statute applicable to establish underlying unlawful act in federal involuntary

manslaughter case as consequence would be contrary to case law and language of manslaughter

statute). By the same reasoning, a defendant could avoid prosecution under the Clean Water Act

sections 1319(c)(1)(A) and 1321(b)(3). Therefore, any external standard guiding the negligence

analysis, if any exists, may be presented as evidence to be taken into consideration by the jury.

        In considering the first ground for vagueness, the question is whether an ordinary person

in the defendants’ positions, provided the facts alleged in the indictment are proved at trial,

would have sufficient notice that negligent conduct resulting in death would be sanctioned or

would result in environmental harm. Taking the facts as alleged in the indictment as true, it is

difficult to find that any person would not be apprised that general negligent conduct, much less

grossly negligent conduct, in this matter would not be sanctioned. As alleged in the indictment,

deepwater drilling is by nature a dangerous undertaking, fraught with the risk of introduction

gases and fluids that may enter the well and cause explosions on board the deepwater drilling rig.

(Rec. Doc. 7, at 2-3). The indictment alleges that the defendants failed to properly administer

“negative testing” meant to contain any risk of such gases and fluids entering the well and failed

to contact engineers onshore to report an abnormal reading from the negative testing. (Rec. Doc.

7, at 7). Provided that the government is able to prove that the defendants’ actions caused the

blowout that caused the eleven deaths on the Deepwater Horizon, the facts as alleged are

sufficient to conclude that an ordinary person would reasonably understand that the improper

administration of the negative testing and actions surrounding such administration of the test in


presented evidence through expert witnesses of the proper dosage of potassium and potential lethal effects. Id. The
jury deliberated based on the evidence presented at trial regarding the physician’s conduct.

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light of the inherent danger in deepwater drilling would subject one to criminal sanctions. That

the defendants did not foresee any criminal charges being brought against them does not

undermine the fair notice requirement. Though a criminal may not foresee certain consequences,

the law may still hold him or her accountable for negligent actions. See Clark, 582 F.3d 607,

614 (5th Cir. 2009) (finding that statute was not unconstitutionally vague despite defendant’s

claiming not to have known that transporting a woman into virtual sex slavery was an “immoral

purpose”). Justice Holmes aptly explains this point:

               If a man should kill another by driving an automobile furiously
               into a crowd, he might be convicted of murder, however little he
               expected the result. If he did no more than drive negligently
               through a street, he might get off with manslaughter or less. And in
               the last case he might be held although he himself thought that he
               was acting as a prudent man should.

Nash v. United States, 229 U.S. 373, 377-78 (1913). Thus, assuming that the facts as alleged in

the indictment are true, the Court finds that an ordinary person would understand that the

defendants’ conduct was proscribed in this matter.

       Considering the second ground of vagueness, negligent and grossly negligent conduct

provide a clear standard for enforcement. The Fifth Circuit in Escalante stated unambiguously

that, in that case, “[b]ecause [the statute] applies only to conduct that is negligent, such that the

conduct endangers the motorist or others, the Mississippi law does not empower the police to

punish whatever conduct they choose.” 239 F.3d at 680. Similarly, both statutes at issue in this

matter apply only to negligent or grossly negligent conduct, effectively cabining the discretion of

law enforcement and juries from arbitrary enforcement. Moreover, the question of whether the

conduct was reasonable in a negligence analysis, a well-settled legal standard, is unquestionably

appropriate for the jury’s consideration: “[t]he mere fact that a penal statute is so framed as to

require a jury upon occasion to determine a question of reasonableness is not sufficient to make

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it too vague to afford a practical guide to permissible conduct.” United States v. Ragen, 314 U.S.

513, 523, 62 U.S. 513, 62 L.Ed. 374 (1942); see also United States v. Scannapieco, 611 F.2d 619

(5th Cir. 1980) (jury instructions surviving vague as applied challenge).



IV.    CONCLUSION

       In sum, this Court finds that consideration of this motion is appropriate in a pretrial

context because it relies only on those facts as alleged in the indictment. Further, the Court finds

that the standards of negligence and gross negligence as applied to the facts of the instant matter

as alleged in the indictment are not unconstitutionally vague.

Accordingly,

       IT IS ORDERED that the defendants Joint Motion to Dismiss Counts 1-23 (Rec. Doc.

104) is hereby DENIED.


                  Hello This is a Test
                                        27th day of ____________________,
          New Orleans, Louisiana, this ______           January           2014.




                                         _________________________________________
                                         STANWOOD R. DUVAL, JR.
                                         UNITED STATES DISTRICT JUDGE




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